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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                         CHARLESTON DIVISION

CARRIE ANN OVERTON, )          CIVIL ACTION NO.: 2:16-03307-RMG
                    )
     Plaintiff,     )
                    )                     COMPLAINT
v.                  )                 (JURY TRIAL REQUESTED)
                    )
USAA,               )
                    )
     Defendant.     )
_____________________)

TO THE DEFENDANT ABOVE-NAMED:

      Plaintiff alleges:

      1.    Plaintiff is a citizen and resident of Charleston County,

South Carolina.

      2.    Defendant is an unincorporated association and

transacts business in Charleston County, South Carolina.

      3.    Plaintiff wishes to dismiss all members of Defendant’s

associations in South Carolina that would destroy diversity.

      4.    At all times herein mentioned Plaintiff was an insured

pursuant to a policy issued by Defendant, with a policy number

012727622R71018.

      5.    On June 6, 2011, Plaintiff was involved in a motor vehicle

collision and sustained serious and permanent injuries.
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      6.     On December 13, 2011, Plaintiff underwent cervical

surgery performed by Dr. George Khoury.

      7.     Dr. George Khoury is a board-certified neurosurgeon.

      8.     On more than one occasion, including deposition

testimony under oath, Dr. Khoury gave his opinion the cervical

surgery was proximately caused by injuries sustained by Plaintiff in

the June 6, 2011, motor vehicle collision.

      9.     Plaintiff has requested benefits pursuant to the

aforementioned policy; however, by letter dated September 3, 2015,

her claim has been denied.

                     FOR A FIRST CAUSE OF ACTION
                        BREACH OF CONTRACT

      10.    Paragraphs 1 through 9 are incorporated herein by

reference.

      11.    This cause of action is brought pursuant to Section 38-

59-40, Code of Laws of South Carolina (1976), as amended.

      12.    Defendant has breached the insurance contract existing

between the parties by failing to pay Plaintiff’s claim within ninety

days after demand has been made.

      13.    Plaintiff is entitled to payment of all benefits due under

the insurance contract, plus attorney’s fees.
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                     FOR A SECOND CAUSE OF ACTION
                               BAD FAITH

      14.   Paragraphs 1 through 13 are incorporated by reference.

      15.   Defendant has, without just cause and in bad faith,

refused to pay benefits to Plaintiff, by the following acts/omissions:

            a.      Intentionally delaying a decision on Plaintiff's claim
                    for benefits;

            b.      Ignoring the opinion of Plaintiff's treating physician
                    regarding causation;

            c.      Retaining a medical practitioner for the sole
                    benefit of rendering an opinion that supports
                    Defendant's denial of benefits;

            d.      Such other acts/ omissions that may be discovered
                    during litigation.

                      FOR A THIRD CAUSE OF ACTION
                        PREJUDGMENT INTEREST

      16.   Paragraphs 1 through 13 are incorporated by reference.

      17.   Plaintiff is entitled to prejudgment interest pursuant to

Section 34-31-20, Code of Laws of South Carolina (1976), as

amended.

      WHEREFORE, Plaintiff demands judgment against Defendant

for such amount of actual and punitive damages as the trier of

facts shall determine, prejudgment interest, for the costs of this
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action, including a reasonable attorney’s fee, and for such further

relief as this court deems proper.


                              S/JOHNNY F. DRIGGERS
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                              ATTORNEY FOR PLAINTIFF

Goose Creek, South Carolina

October 5, 2016.
